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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE ACIS CAPITAL MANAGEMENT,                 §
L.P., et al.,                                  §
                                               §
                       Debtors.                §
                                               §      Civil Action No. 3:19-CV-0291-D
HIGHLAND CAPITAL MANAGEMENT,                   §      (Bank. Ct. Nos. 18-30264-SGJ-11 and
L.P., et al.,                                  §      18-30265-SGJ-11)
                                               §
                       Appellants,             §
                                               §
VS.                                            §
                                               §
ROBIN PHELAN, CHAPTER 11                       §
TRUSTEE, et al.,                               §
                                               §
                       Appellees.              §

                                  APPEAL FROM THE
                          UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

                                           JUDGMENT

       This appeal came on for consideration on the briefs, with oral argument. For the reasons

stated in the court’s opinion filed today, the bankruptcy court’s January 31, 2019 bench ruling and

memorandum of law in support of: (a) final approval of disclosure statement; and (b) confirmation

of chapter 11 trustee’s third amended joint plan; the bankruptcy court’s January 31, 2019 findings

of fact, conclusions of law, and order granting final approval of disclosure statement and confirming

the third amended joint plan for Acis Capital Management, L.P. and Acis Capital Management GP

LLC, as modified; and the bankruptcy court’s January 31, 2019 findings of fact, conclusions of law,

and order granting final approval of disclosure statement and confirming the third amended joint

plan for Acis Capital Management, L.P. and Acis Capital Management GP LLC, as modified, are

AFFIRMED.
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    Costs of this appeal are taxed against appellants pursuant to Fed. R. Bankr. P. 8021(a)(2).

    Entered: July 18, 2019.



                                          KAREN MITCHELL
                                          Clerk of Court


                                          By: s/ P. Esquivel




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